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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 GLORIA R.C.D.R.,                                        Civil Action No. 20-11582 (SRC)

                Petitioner,

        v.                                                            ORDER

 STEVEN AHRENDT, et al.,

                Respondents.


       IT APPEARING THAT:

       1. On August 27, 2020, Petitioner, Gloria R.C.D.R.., filed the instant petition for a writ of

habeas corpus challenging her continued immigration detention. (ECF No. 1).

       2. On September 3, 2020, this Court directed the Government to file an answer to the

petition. (ECF No. 2).

       3. On September 17, 2020, the Government filed its Response. (ECF No. 3). Petitioner

thereafter filed a reply. (ECF No. 5). The parties also submitted further briefing in October and

early November 2020. (ECF Nos. 8-9, 11).

       4. On November 19, 2020, however, Petitioner filed a letter with the Court informing the

Court that Petitioner has been released on an order of supervision. (ECF No. 12). As Petitioner is

no longer in custody and sought only her release in her petition, Petitioner therefore requests that

this habeas petition be dismissed without prejudice as moot. (Id.).

       5.    Because Petitioner’s habeas petition sought only her release from immigration

detention, and as Petitioner has now been released from detention pursuant to an order of

supervision, this Court no longer has any occasion to provide Petitioner with meaningful relief,

and her habeas petition must therefore be dismissed without prejudice. See, e.g., Nunes v. Decker,

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480 F. App’x 173, 175 (3d Cir. 2012); Rodney v. Mukasey, 340 F. App’x 761, 764 (3d Cir. 2009);

Sanchez v. Att’y Gen., 146 F. App’x 547, 549 (3d Cir. 2005).

       IT IS THEREFORE on this 20th day of November, 2020,

       ORDERED that Petitioner’s petition for a writ of habeas corpus (ECF No. 1) is hereby

DISMISSED WITHOUT PREJUDICE; and it is further

       ORDERED that the Clerk of the Court shall serve a copy of this Order upon the parties

electronically, and shall CLOSE the file.




                                                   s/ Stanley R. Chesler
                                                   Hon. Stanley R. Chesler,
                                                   United States District Judge




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